             Case 19-23410-SLM                  Doc 1         Filed 07/10/19 Entered 07/10/19 08:46:57                         Desc Main
                                                             Document      Page 1 of 21
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

         District Of New Jersey
     ______________

     Case number (If known): _________________________ Chapter you are filing under:
                                                                 Chapter 7
                                                                 Chapter 11
                                                                 Chapter 12
                                                              
                                                              X   Chapter 13                                                Check if this is an
                                                                                                                               amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                           12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:       Identify Yourself

                                        About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture        Anthony
                                        __________________________________________________            __________________________________________________
                                        First name                                                    First name
       identification (for example,
       your driver’s license or         __________________________________________________            __________________________________________________
       passport).                       Middle name                                                   Middle name

       Bring your picture               Biasi
                                        __________________________________________________            __________________________________________________
       identification to your meeting   Last name                                                     Last name
       with the trustee.                ___________________________                                   ___________________________
                                        Suffix (Sr., Jr., II, III)                                    Suffix (Sr., Jr., II, III)




2.    All other names you               __________________________________________________            __________________________________________________
      have used in the last 8           First name                                                    First name
      years
                                        __________________________________________________            __________________________________________________
       Include your married or          Middle name                                                   Middle name
       maiden names.                    __________________________________________________            __________________________________________________
                                        Last name                                                     Last name

                                        __________________________________________________            __________________________________________________
                                        First name                                                    First name

                                        __________________________________________________            __________________________________________________
                                        Middle name                                                   Middle name
                                        __________________________________________________            __________________________________________________
                                        Last name                                                     Last name




3.    Only the last 4 digits of
      your Social Security              xxx    – xx – ____
                                                       1 ____
                                                           5 ____
                                                               6 ____
                                                                  9                                  xxx    – xx – ____ ____ ____ ____
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)

Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                           page 1
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Debtor 1        Anthony Biasi
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




                                           About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


4.    Any business names
      and Employer                          I have not used any business names or EINs.                 I have not used any business names or EINs.
      Identification Numbers
      (EIN) you have used in               See Attachment 1
                                           _________________________________________________            _________________________________________________
      the last 8 years                     Business name                                                Business name

      Include trade names and
                                           _________________________________________________            _________________________________________________
      doing business as names              Business name                                                Business name


                                           4 ___
                                           ___ 5 – ___
                                                   4 ___
                                                       1 ___
                                                         2 4___ ___
                                                                8 2___ 4___                             ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN

                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN




5.    Where you live                                                                                    If Debtor 2 lives at a different address:


                                           45 Eric Trail
                                           _________________________________________________            _________________________________________________
                                           Number      Street                                           Number     Street


                                           _________________________________________________            _________________________________________________


                                           Sussex                          NJ      07461
                                           _________________________________________________            _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code

                                           SUSSEX
                                           _________________________________________________            _________________________________________________
                                           County                                                       County


                                           If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                  any notices to this mailing address.


                                           _________________________________________________            _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________
                                           P.O. Box                                                     P.O. Box

                                           _________________________________________________            _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code




6.    Why you are choosing                 Check one:                                                   Check one:
      this district to file for
      bankruptcy                            Over the last 180 days before filing this petition,         Over the last 180 days before filing this petition,
                                              I have lived in this district longer than in any             I have lived in this district longer than in any
                                              other district.                                              other district.

                                            I have another reason. Explain.                             I have another reason. Explain.
                                              (See 28 U.S.C. § 1408.)                                      (See 28 U.S.C. § 1408.)
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________



     Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                   page 2
            Case 19-23410-SLM                     Doc 1           Filed 07/10/19 Entered 07/10/19 08:46:57                           Desc Main
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Debtor 1        Anthony Biasi
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




Part 2:       Tell the Court About Your Bankruptcy Case


7.    The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                            Chapter 7
                                            Chapter 11
                                            Chapter 12
                                           
                                           X Chapter 13

8.    How you will pay the fee             
                                           X I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                              local court for more details about how you may pay. Typically, if you are paying the fee
                                              yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                              submitting your payment on your behalf, your attorney may pay with a credit card or check
                                              with a pre-printed address.

                                            I need to pay the fee in installments. If you choose this option, sign and attach the
                                              Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                            I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                              less than 150% of the official poverty line that applies to your family size and you are unable to
                                              pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                   
                                           X No
      bankruptcy within the
      last 8 years?                         Yes.    District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY



10.   Are any bankruptcy                   
                                           X No
      cases pending or being
      filed by a spouse who is              Yes.    Debtor _________________________________________________ Relationship to you      _____________________
      not filing this case with                      District __________________________ When     _______________ Case number, if known____________________
      you, or by a business                                                                       MM / DD / YYYY
      partner, or by an
      affiliate?
                                                     Debtor _________________________________________________ Relationship to you      _____________________

                                                     District __________________________ When     _______________ Case number, if known____________________
                                                                                                  MM / DD / YYYY



11.   Do you rent your                     
                                           X No.     Go to line 12.
      residence?                            Yes.    Has your landlord obtained an eviction judgment against you?

                                                        No. Go to line 12.
                                                        Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                         part of this bankruptcy petition.




     Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1        Anthony  Biasi
                _______________________________________________________                                    Case number (if known)_____________________________________
                First Name        Middle Name             Last Name




Part 3:       Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                  No. Go to Part 4.
      of any full- or part-time
      business?                                 
                                                X Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         Biasi Enterprises, LLC, Agents Collateral Recovery Group, LLC
                                                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                     45 Eric Trail
                                                         _______________________________________________________________________________________
                                                         Number     Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.
                                                         Sussex
                                                         _______________________________________________          NJ
                                                                                                                  _______      07461
                                                                                                                               __________________________
                                                          City                                                    State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         
                                                         X   None of the above


13.   Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?
                                                
                                                X No.    I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                       No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                              the Bankruptcy Code.

                                                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                         Bankruptcy Code.


Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                    
                                                X No
      property that poses or is
      alleged to pose a threat                   Yes.    What is the hazard?      ________________________________________________________________________
      of imminent and
      identifiable hazard to                                                       ________________________________________________________________________
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed? _______________________________________________
      immediate attention?
      For example, do you own                                                      ________________________________________________________________________
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property? ________________________________________________________________________
                                                                                   Number         Street


                                                                                   ________________________________________________________________________

                                                                                  ________________________________________ _______            ____________________
                                                                                  City                                     State              ZIP Code


  Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                    page 4
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Debtor 1        Anthony Biasi
                _______________________________________________________                                   Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                             About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                You must check one:
      counseling.
                                             
                                             X I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit           certificate of completion.                                         certificate of completion.
      counseling before you file for
                                                Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you
      cannot do so, you are not
                                              I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                                Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
      again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                                unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                days after I made my request, and exigent                          days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                of the requirement.
                                                To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                required you to file this case.                                    required you to file this case.
                                                Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved                      You must file a certificate from the approved
                                                agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                may be dismissed.                                                  may be dismissed.
                                                Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                days.                                                              days.

                                              I am not required to receive a briefing about                     I am not required to receive a briefing about
                                                credit counseling because of:                                      credit counseling because of:

                                                 Incapacity.       I have a mental illness or a mental             Incapacity.      I have a mental illness or a mental
                                                                    deficiency that makes me                                          deficiency that makes me
                                                                    incapable of realizing or making                                  incapable of realizing or making
                                                                    rational decisions about finances.                                rational decisions about finances.
                                                 Disability.       My physical disability causes me                Disability.      My physical disability causes me
                                                                    to be unable to participate in a                                  to be unable to participate in a
                                                                    briefing in person, by phone, or                                  briefing in person, by phone, or
                                                                    through the internet, even after I                                through the internet, even after I
                                                                    reasonably tried to do so.                                        reasonably tried to do so.
                                                 Active duty.      I am currently on active military               Active duty.     I am currently on active military
                                                                    duty in a military combat zone.                                   duty in a military combat zone.
                                                If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




  Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                         page 5
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Debtor 1       Anthony  Biasi
               _______________________________________________________                                  Case number (if known)_____________________________________
               First Name    Middle Name             Last Name




Part 6:      Answer These Questions for Reporting Purposes

                                           16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                     as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                   No. Go to line 16b.
                                                
                                                X   Yes. Go to line 17.

                                           16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment.
                                                   No. Go to line 16c.
                                                   Yes. Go to line 17.

                                           16c. State the type of debts you owe that are not consumer debts or business debts.
                                                _______________________________________________________________

17.   Are you filing under
      Chapter 7?                           
                                           X No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                                     No
      administrative expenses
      are paid that funds will be                      Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                
                                           X 1-49                                      1,000-5,000                            25,001-50,000
      you estimate that you                 50-99                                     5,001-10,000                           50,001-100,000
      owe?                                  100-199                                   10,001-25,000                          More than 100,000
                                            200-999
19.   How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your assets to               $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      be worth?                            
                                           X $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20.   How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your liabilities             $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      to be?                               
                                           X $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Part 7:      Sign Below

                                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                    correct.
                                           If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                           of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                           under Chapter 7.
                                           If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                           this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                           I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                           I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                           with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                           18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                            s/Steven Martino
                                              ______________________________________________               _____________________________
                                              Signature of Debtor 1                                            Signature of Debtor 2

                                                          07/10/2019
                                              Executed on _________________                                    Executed on __________________
                                                                 MM   / DD   / YYYY                                          MM / DD     / YYYY


  Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                       page 6
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Debtor 1     Anthony Biasi
             _______________________________________________________                               Case number (if known)_____________________________________
             First Name   Middle Name             Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                        s/Steven
                                         _________________________________
                                                  Martino/s/Steven J. Martino                               Date           _________________
                                                                                                                           07/10/2019
                                           Signature of Attorney for Debtor                                                MM    /   DD / YYYY




                                           Steven J. Martino
                                           _________________________________________________________________________________________________
                                           Printed name

                                           Iacullo Martino
                                           _________________________________________________________________________________________________
                                           Firm name

                                           247 Franklin Avenue
                                           _________________________________________________________________________________________________
                                           Number     Street

                                           _________________________________________________________________________________________________

                                           Nutley
                                           ______________________________________________________ NJ
                                                                                                  ____________ 07110
                                                                                                               ______________________________
                                           City                                                   State        ZIP Code




                                                         (973) 235-1550
                                           Contact phone _____________________________________             Email address   stevem@iacullomartino.com
                                                                                                                           ______________________________




                                           027871987                                              NJ
                                           ______________________________________________________ ____________
                                           Bar number                                                      State




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                       page 7
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                                                    Attachment
                                           Debtor: Anthony Biasi Case No:


Attachment 1
     Biasi Enterprises, LLC, Agents Collateral Recovery Group, LLC
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                                                                    Document      Page 9 of 21
Fill in this information to identify your case:

Debtor 1          Anthony  Biasi
                  __________________________________________________________________
                    First Name                Middle Name                      Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                Middle Name                      Last Name


United States Bankruptcy Court for the: District of New Jersey
                                        ______________________________________

Case number         ___________________________________________
(If known)                                                                                                                                               Check if this is an
                                                                                                                                                            amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      
      X    Yes. Fill in all of the information below.


Part 1:         List All Secured Claims
                                                                                                                           Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                    Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                         value of collateral.   claim                 If any

2.1                                                         Describe the property that secures the claim:                   360,000.00
                                                                                                                           $_________________  320,000.00
                                                                                                                                              $________________  40,000.00
                                                                                                                                                                $____________
      Lynx Asset Services LLC
      ______________________________________
      Creditor’s Name
                                                        One Family Home
      30 Freneau Avenue
      ______________________________________
      Number            Street

                                                            As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                               Contingent
      Matawan               NJ 07747
      ______________________________________                   Unliquidated
      City                   State ZIP Code                    Disputed
   Who owes the debt? Check one.                            Nature of lien. Check all that apply.
   
   X     Debtor 1 only                                      
                                                            X   An agreement you made (such as mortgage or secured
        Debtor 2 only                                          car loan)
        Debtor 1 and Debtor 2 only                            Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another               Judgment lien from a lawsuit
                                                               Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
   Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
2.2                                                         Describe the property that secures the claim:                   0.00
                                                                                                                           $_________________  0.00
                                                                                                                                              $________________  0.00
                                                                                                                                                                $____________
      See  Attachment 1
      ______________________________________
      Creditor’s Name
                                                        Pension
      PO  Box 295
      ______________________________________
      Number            Street

                                                            As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                               Contingent
      Trenton               NJ 08625
      ______________________________________                   Unliquidated
      City                   State ZIP Code                    Disputed
   Who owes the debt? Check one.                            Nature of lien. Check all that apply.
   
   X     Debtor 1 only                                         An agreement you made (such as mortgage or secured
        Debtor 2 only                                          car loan)
        Debtor 1 and Debtor 2 only                            Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another               Judgment lien from a lawsuit
                                                            
                                                            X   Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
   Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
      Add the dollar value of your entries in Column A on this page. Write that number here:                                360,000.00
                                                                                                                           $_________________


  Official Form 106D                           Schedule D: Creditors Who Have Claims Secured by Property                                                                 3
                                                                                                                                                              page 1 of ___
              Case 19-23410-SLM                         Doc 1         Filed 07/10/19 Entered 07/10/19 08:46:57                                     Desc Main
                                                                     Document      Page 10 of 21
Debtor 1           Anthony Biasi
                   _______________________________________________________                                     Case number (if known)_____________________________________
                   First Name      Middle Name           Last Name




                 Additional Page                                                                                          Column A               Column B              Column C
Part 1:                                                                                                                   Amount of claim        Value of collateral   Unsecured
                 After listing any entries on this page, number them beginning with 2.3, followed                                                that supports this    portion
                                                                                                                          Do not deduct the
                 by 2.4, and so forth.                                                                                    value of collateral.   claim                 If any
2.3                                                       Describe the property that secures the claim:                    7,000.00
                                                                                                                          $_________________  9,000.00
                                                                                                                                             $________________  0.00
                                                                                                                                                               $____________
      Rock  Solid Financial
      ______________________________________
      Creditor’s Name

      11-- E 6600 South
      ______________________________________
                                             Car Trailer
      Number            Street


      Suite 510
      ______________________________________              As of the date you file, the claim is: Check all that apply.

      Salt Lake City         UT 84121
      ______________________________________                  Contingent
      City                   State ZIP Code                   Unliquidated
                                                              Disputed
   Who owes the debt? Check one.                          Nature of lien. Check all that apply.
   
   X       Debtor 1 only                                  
                                                          X    An agreement you made (such as mortgage or secured
          Debtor 2 only                                       car loan)
          Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another            Judgment lien from a lawsuit
                                                              Other (including a right to offset) ____________________
          Check if this claim relates to a
           community debt

   Date debt was incurred ____________                    Last 4 digits of account number ___ ___ ___ ___

2.4                                                       Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

                                                          As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                              Contingent
      ______________________________________                  Unliquidated
      City                           State   ZIP Code
                                                              Disputed
   Who owes the debt? Check one.
                                                          Nature of lien. Check all that apply.
          Debtor 1 only
                                                              An agreement you made (such as mortgage or secured
          Debtor 2 only                                       car loan)
          Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another            Judgment lien from a lawsuit

          Check if this claim relates to a
                                                              Other (including a right to offset) ____________________
           community debt

   Date debt was incurred ____________                    Last 4 digits of account number ___ ___ ___ ___

2.5                                                       Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

      ______________________________________              As of the date you file, the claim is: Check all that apply.
      ______________________________________                  Contingent
      City                           State   ZIP Code         Unliquidated
                                                              Disputed
   Who owes the debt? Check one.                          Nature of lien. Check all that apply.
          Debtor 1 only                                      An agreement you made (such as mortgage or secured
          Debtor 2 only                                       car loan)
          Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another            Judgment lien from a lawsuit
                                                              Other (including a right to offset) ____________________
          Check if this claim relates to a
           community debt
   Date debt was incurred ____________                    Last 4 digits of account number ___ ___ ___ ___

              Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
                                                                                                      7,000.00
             If this is the last page of your form, add the dollar value totals from all pages.
             Write that number here:                                                                                       367,000.00
                                                                                                                          $_________________

  Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                              2 of ___
                                                                                                                                                             page ___    3
             Case 19-23410-SLM                Doc 1          Filed 07/10/19 Entered 07/10/19 08:46:57                              Desc Main
                                                            Document      Page 11 of 21
Debtor 1       Anthony Biasi
               _______________________________________________________                          Case number (if known)_____________________________________
               First Name    Middle Name        Last Name


  Part 2:      List Others to Be Notified for a Debt That You Already Listed

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                           On which line in Part 1 did you enter the creditor? 2.1
                                                                                                                                               _____
      The Law Office of Michael Alfieri
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      30 Freneau Avenue
      _____________________________________________________________________
      Number        Street

      _____________________________________________________________________

      Matawan                                 NJ             07747
      _____________________________________________________________________
      City                                         State           ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code



  Official Form 106D                       Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                               page 3
                                                                                                                                                  ___ of 3
                                                                                                                                                         ___
         Case 19-23410-SLM               Doc 1      Filed 07/10/19 Entered 07/10/19 08:46:57   Desc Main
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                                                   Attachment
                                          Debtor: Anthony Biasi Case No:


Attachment 1
     New Jersey Public Employee Retirment Syste,
               Case 19-23410-SLM                          Doc 1     Filed 07/10/19 Entered 07/10/19 08:46:57                                        Desc Main
 Fill in this information to identify your case:                   Document      Page 13 of 21

 Debtor 1             Anthony                                     Biasi
                      __________________________________________________________________
                       First Name                    Middle Name             Last Name

 Debtor 2              ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name             Last Name


 United States Bankruptcy Court for the: District of New Jersey
                                         ______________________________________
                                                                                                                                                       Check if this is an
 Case number           ___________________________________________
  (If known)                                                                                                                                             amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 Part 1:             List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
        
        X No. Go to Part 2.
         Yes.
      2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                      Total claim     Priority    Nonpriority
                                                                                                                                                      amount      amount
2.1
         ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___            $_____________ $___________ $____________
         Priority Creditor’s Name

         ____________________________________________                 When was the debt incurred?          ____________
         Number             Street
         ____________________________________________                 As of the date you file, the claim is: Check all that apply.
         ____________________________________________
         City                                State      ZIP Code
                                                                         Contingent
                                                                         Unliquidated
         Who incurred the debt? Check one.
                                                                         Disputed
               Debtor 1 only
               Debtor 2 only                                         Type of PRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only
                                                                         Domestic support obligations
               At least one of the debtors and another
                                                                         Taxes and certain other debts you owe the government
               Check if this claim is for a community debt              Claims for death or personal injury while you were
         Is the claim subject to offset?                                  intoxicated
               No                                                       Other. Specify _________________________________
               Yes
2.2
         ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $_____________ $___________ $____________
         Priority Creditor’s Name
                                                                      When was the debt incurred?          ____________
         ____________________________________________
         Number             Street
         ____________________________________________                 As of the date you file, the claim is: Check all that apply.

         ____________________________________________
                                                                         Contingent
         City                                State      ZIP Code         Unliquidated
         Who incurred the debt? Check one.                               Disputed
               Debtor 1 only
                                                                      Type of PRIORITY unsecured claim:
               Debtor 2 only
                                                                         Domestic support obligations
               Debtor 1 and Debtor 2 only
               At least one of the debtors and another
                                                                         Taxes and certain other debts you owe the government
                                                                         Claims for death or personal injury while you were
               Check if this claim is for a community debt               intoxicated
         Is the claim subject to offset?                                 Other. Specify _________________________________
               No
               Yes


Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                       4
                                                                                                                                                           page 1 of ___
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             Anthony
                                                        Doc 1
                                                         Biasi
                                                                      Filed 07/10/19 Entered 07/10/19 08:46:57 Desc Main
Debtor 1            _______________________________________________________
                    First Name       Middle Name         Last Name   Document      Page 14 of Case
                                                                                               21 number (if known)_____________________________________
  Part 2:          List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      X Yes
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than four priority unsecured claims
      fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.1
       Chase Card Services
       _____________________________________________________________                   Last 4 digits of account number ___ ___ ___ ___
       Nonpriority Creditor’s Name                                                                                                                              5,441.31
                                                                                                                                                               $__________________
                                                                                       When was the debt incurred?           ____________
       PO  Box 1423
       _____________________________________________________________
       Number              Street

       Charlotte                      NC      28201-1423
       _____________________________________________________________
       City                                             State         ZIP Code         As of the date you file, the claim is: Check all that apply.

                                                                                          Contingent
       Who incurred the debt? Check one.                                                  Unliquidated
       
       X      Debtor 1 only                                                               Disputed
             Debtor 2 only
             Debtor 1 and Debtor 2 only                                               Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                                     Student loans

             Check if this claim is for a community debt                                 Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
       Is the claim subject to offset?                                                    Debts to pension or profit-sharing plans, and other similar debts
       
       X      No                                                                       
                                                                                       X   Other. Specify ______________________________________
             Yes

4.2                                                                                                                     0 ___
                                                                                       Last 4 digits of account number ___ 1 ___
                                                                                                                              4 5___                            4,812.30
                                                                                                                                                               $__________________
       Lending Club
       _____________________________________________________________
       Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
       595 Market Street Suite 200``
       _____________________________________________________________
       Number              Street
                                                                                       As of the date you file, the claim is: Check all that apply.
       San Antonio                    CA      94105
       _____________________________________________________________
       City                                             State         ZIP Code
                                                                                          Contingent
       Who incurred the debt? Check one.                                                  Unliquidated

       
       X      Debtor 1 only
                                                                                          Disputed

             Debtor 2 only
                                                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                                     Student loans
                                                                                          Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt                                  that you did not report as priority claims
       Is the claim subject to offset?                                                    Debts to pension or profit-sharing plans, and other similar debts

       
       X      No                                                                       
                                                                                       X   Other. Specify Personal Loan
                                                                                                          ______________________________________

             Yes

4.3
       Lending Club
       _____________________________________________________________                                                    7 ___
                                                                                       Last 4 digits of account number ___ 9 ___
                                                                                                                              2 ___
                                                                                                                                 5
       Nonpriority Creditor’s Name
                                                                                                                                                                2,151.75
                                                                                                                                                               $_________________
                                                                                       When was the debt incurred?           ____________
       595 Market Street
       _____________________________________________________________
       Number              Street

       San Antonio                    CA      94105
       _____________________________________________________________                   As of the date you file, the claim is: Check all that apply.
       City                                             State         ZIP Code

                                                                                          Contingent
       Who incurred the debt? Check one.
                                                                                          Unliquidated
       
       X      Debtor 1 only
                                                                                          Disputed
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                       Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                                          Student loans
             Check if this claim is for a community debt                                 Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
       Is the claim subject to offset?
                                                                                          Debts to pension or profit-sharing plans, and other similar debts
       
       X      No
                                                                                       
                                                                                       X   Other. Specify ______________________________________
             Yes




  Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                              2 of ___
                                                                                                                                                                    page __    4
              Case  19-23410-SLM
                Anthony
                                                       Doc 1
                                                        Biasi
                                                                       Filed 07/10/19 Entered 07/10/19 08:46:57 Desc Main
Debtor 1           _______________________________________________________
                   First Name       Middle Name           Last Name   Document      Page 15 of Case
                                                                                                21 number (if known)_____________________________________
 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                           Total claim


4.4                                                                                                                       6 ___
                                                                                         Last 4 digits of account number ___ 8 ___
                                                                                                                                0 ___
                                                                                                                                   1
      One Main Financial
      _____________________________________________________________                                                                                               4,760.37
                                                                                                                                                                 $____________
      Nonpriority Creditor’s Name
                                                                                         When was the debt incurred?          ____________
      1070 Route 46 Ste 9
      _____________________________________________________________
      Number            Street
                                                                                         As of the date you file, the claim is: Check all that apply.
      Ledgewood                      NJ      07852-9701
      _____________________________________________________________
      City                                             State          ZIP Code              Contingent
                                                                                            Unliquidated
      Who incurred the debt? Check one.                                                     Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                            Student loans
            At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
            Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                    
                                                                                         X                 Personal Loan
                                                                                             Other. Specify________________________________
      
      X      No
            Yes



4.5
                                                                                         Last 4 digits of account number ___ ___ ___ ___                         $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                         When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street
                                                                                         As of the date you file, the claim is: Check all that apply.
      _____________________________________________________________
      City                                             State          ZIP Code              Contingent
                                                                                            Unliquidated
      Who incurred the debt? Check one.                                                     Disputed
            Debtor 1 only
            Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                            Student loans
            At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
            Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                       Other. Specify________________________________
            No
            Yes


4.6                                                                                                                                                              $____________
                                                                                         Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                         When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street
                                                                                         As of the date you file, the claim is: Check all that apply.
      _____________________________________________________________
      City                                             State          ZIP Code              Contingent
                                                                                            Unliquidated
      Who incurred the debt? Check one.                                                     Disputed
            Debtor 1 only
            Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                            Student loans
            At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
            Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                       Other. Specify________________________________
            No
            Yes




  Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                          3 of ___
                                                                                                                                                                 page __    4
           Case  19-23410-SLM
             Anthony
                                               Doc 1Biasi
                                                              Filed 07/10/19 Entered 07/10/19 08:46:57 Desc Main
Debtor 1       _______________________________________________________
               First Name    Middle Name         Last Name   Document      Page 16 of Case
                                                                                       21 number (if known)_____________________________________
Part 4:     Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
    Add the amounts for each type of unsecured claim.




                                                                                         Total claim


                6a. Domestic support obligations                                 6a.
Total claims                                                                             $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                   6b.     $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                  6c.
                                                                                         $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                      6d.
                                                                                       + $_________________________

                6e. Total. Add lines 6a through 6d.                              6e.
                                                                                         $_________________________



                                                                                         Total claim

                6f. Student loans                                                6f.
Total claims                                                                               0.00
                                                                                          $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                       6g.       0.00
                                                                                          $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                                6h.      0.00
                                                                                         $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                      6i.   + $_________________________
                                                                                          17,165.73


                6j. Total. Add lines 6f through 6i.                              6j.
                                                                                           17,165.73
                                                                                          $_________________________




  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                     4 of ___
                                                                                                                                       page __    4
                Case 19-23410-SLM                       Doc 1     Filed 07/10/19 Entered 07/10/19 08:46:57                                Desc Main
                                                                 Document      Page 17 of 21
Fill in this information to identify your case:

Debtor 1          Anthony Biasi
                  __________________________________________________________________
                    First Name                 Middle Name              Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name              Last Name


United States Bankruptcy Court for the: District of New Jersey
                                        _______________________________________
Case number         ___________________________________________
(If known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor’s Schedules                                                                                                          12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       X No
       Yes.          Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




    s/Steven Martino
          ______________________________________________             
                                                                      _____________________________
         Signature of Debtor 1                                             Signature of Debtor 2


         Date 07/10/2019
              _________________                                            Date _________________
                MM /    DD       /   YYYY                                           MM / DD /   YYYY




  Official Form 106Dec                                         Declaration About an Individual Debtor’s Schedules                                         page 1
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                           Filed 07/10/19 Entered 07/10/19 08:46:57                                                     Desc Main
                          Document      Page 18 of 21
UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
________________________________________________________________________________________________________
In Re:                                                                   Case No.
         Anthony Biasi


                   Debtor(s)
________________________________________________________________________________________________________

                                          DECLARATION RE: ELECTRONIC FILING OF
                                           PETITION, SCHEDULES & STATEMENTS

PART I - DECLARATION OF PETITIONER
                 Anthony Biasi
          I (WE) _________________________________,             the undersigned debtor(s), hereby declare under penalty of perjury that
the information provided in the electronically filed petition, statements, and schedules is true and correct and that I signed these
documents prior to electronic filing. I consent to my attorney sending my petition, statements and schedules to the United States
Bankruptcy Court. I understand that this DECLARATION RE: ELECTRONIC FILING is to be executed at the First Meeting of Creditors
and filed with the Trustee. I understand that failure to file the signed and dated original of this DECLARATION may cause my case to be
dismissed pursuant to 11 U.S.C. § 707(a)(3) without further notice. I (we) further declare under penalty of perjury that I (we) signed the
original Statement of Social Security Number (s), (Official Form B21), prior to the electronic filing of the petition and have verified the 9-
digit social security number displayed on the Notice of Meeting of Creditors to be accurate.

  
  X If petitioner is an individual whose debts are primarily consumer debts and who has chosen to file under a chapter: I am
aware that I may proceed under chapter 7, 11, 12 or 13 of Title 11, United States Code, understand the relief available under each
chapter, and choose to proceed under this chapter. I request relief in accordance with the chapter specified in this petition. I (WE)
and, the undersigned debtor(s), hereby declare under penalty of perjury that the information provided in the electronically filed
petition, statements, and schedules is true and correct.

   If petitioner is a corporation or partnership: I declare under a penalty of perjury that the information provided in the
electronically filed petition is true and correct, and that I have been authorized to file this petition on behalf of the debtor. The debtor
requests relief in accordance with the chapter specified in this petition.

    If petitioner files an application to pay filing fees in installments: I certify that I completed an application to pay the filing fee
in installments. I am aware that if the fee is not paid within 120 days of the filing date of filing the petition, the bankruptcy case may
be dismissed and, if dismissed, I may not receive a discharge of my debts.


Dated: July 10, 2019
       _____________________________

        s/Steven Martino
Signed: _______________________________________                              ______________________________________________
                      (Applicant)                                                           (Joint Applicant)


PART II - DECLARATION OF ATTORNEY

          I declare under penalty of perjury that the debtor(s) signed the petition, schedules, statements, etc., including the
Statement of Social Security Number(s) (Official Form B21) before I electronically transmitted the petition, schedules, and statements to
the United States Bankruptcy Court, and have followed all other requirements in Administrative Orders and Administrative Procedures,
including submission of the electronic entry of the debtor(s) Social Security number into the Court’s electronic records. If an individual, I
further declare that I have informed the petitioner (if an individual) that [he or she] may qualify to proceed under chapter 7, 11, 12 or 13
of Title 11, United States Code, and have explained the relief available under each chapter. This declaration is based on the information
of which I have knowledge.

       July 10, 2019
Dated: ______________________                              Attorney for Debtor(s) s/Steven Martino/s/Steven J. Martino
                                                                                  _________________________________________
                                                                                   Steven J. Martino
                                                                                   _________________________________________
                                                           Address of Attorney     247 Franklin Avenue
                                                                                   _________________________________________
                                                                                   Nutley, New Jersey 07110
                                                                                   _________________________________________
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                                Chase Card Services
                                PO Box 1423
                                Charlotte,NC 28201-1423

Dothins




                                Lending Club
                                595 Market Street
                                Suite 200``
                                San Antonio,CA 94105

Dothins




                                Lending Club
                                595 Market Street
                                San Antonio,CA 94105

Dothins




                                Lynx Asset Services LLC
                                30 Freneau Avenue
                                Matawan,NJ 07747

Dothins




                                New Jersey Public Employee Retirment Sys
                                PO Box 295
                                Trenton,NJ 08625-0265

Dothins




                                One Main Financial
                                1070 Route 46 Ste 9
                                Ledgewood,NJ 07852-9701

Dothins




                                Rock Solid Financial
                                11-- E 6600 South
                                Suite 510
                                Salt Lake City,UT 84121

Dothins




                                The Law Office of Michael Alfieri
                                30 Freneau Avenue
                                Matawan,NJ 07747

Dothins
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                                                 UNITED STATES BANKRUPTCY COURT
                                                              District of New Jersey


In re:                                                                                               Case No.
         Anthony Biasi
                                              Debtors
                                                                                                     Chapter    13


                                     VERIFICATION OF CREDITOR MATRIX
              The above named debtor(s), or debtor’s attorney if applicable, do hereby certify under penalty of perjury that the
         attached Master Mailing List of creditors is complete, correct and consistent with the debtor's schedules pursuant to
         Local Bankruptcy Rules and I/we assume all responsibility for errors and omissions.




         Dated:     July 10, 2019                                             Signed:   s/Steven Martino




         Dated:                                                               Signed:



                    See Attachment 1
                    Steven J. Martino
                    Attorney for Debtor(s)
                    Bar no.: 027871987
                    247 Franklin Avenue
                    Nutley, New Jersey 07110
                    Telephone No: (973) 235-1550
                    Fax No: (973) 661-1653

                    E-mail address:
                    stevem@iacullomartino.com
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                                                     Attachment
                                            Debtor: Anthony Biasi Case No:


Attachment 1
     s/Steven Martino/s/Steven J. Martino
